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                                                 Liquidation Analysis of Scott Van Dyke

                                                                                                                                Low Valuation Assumption   High Valuation Assumption
Personal Property                                2013 Chevrolet Tahoe                                                                   $2,500.00                     $5,300.00



Financial Assets                                 Frost Bank Account                                                                     $1,000.00                    $1,000.00
                                                 Anglo‐Dutch Energy, LLC
                                                 (Registry Funds $907,233.26 (less expenses and attorney fees), real property
                                                 $20,000, and Fesco lawsuit)                                                              $20,000                  $650,000.00
                                                 Anglo‐Dutch (Tenge), LLC                                                                   $260                      $260.00
                                                 Anglo‐Dutch (Everest), LLC                                                                 $400                      $400.00
                                                 Anglo‐Dutch Energy Partners, LLC                                                           $260                      $260.00
                                                 American Oil & Gas, LLC                                                                    $400                      $400.00
                                                 Trepador Energy, LLC                                                                       $400                      $400.00
                                                 Potomac Assets, LLC                                                                        $400                      $400.00
                                                 Texas Petroleum Operations, LLC                                                               $0                        $0.00
                                                 Burgoyne Investments, LLC                                                                  $400                      $400.00
                                                 Funds held in State Court Registry (61st Judicial District of Harris County)                  $0                  $422,750.85
                                                 Money loaned to Anglo‐Dutch Energy                                                            $0                  $244,188.25



Total Assets at Liquidation Value                                                                                                         $26,020                $1,325,759.10

Less Liquidation Costs
                                                 Auctioneer Fee                                                                          $2,602.0                  $132,575.91
                                                 Trustee Comp.                                                                          $48,500.00                   $56,869.13
                                                 Administrative Expenses                                                                  $15,000                      $15,000
                                                 Maintenance & Insurance                                                                   $2,500                       $2,500
                                                                                                                                       $68,602.00                  $206,945.04

Recovery available to Secured Claims                                                                                                  ($42,582.00)               $1,118,814.06

Recovery to Secured Claims                       Wells Fargo and Title Max of Texas                                                        $2,500                    $5,300.00



                                                 Total Recovery available to Secured:                                                 ($45,082.00)               $1,113,514.06


Total Unsecured Claims
Includes disputed claims
and claims Debtor
intends on filing claim
objections)
                                                                                                                                   $50,541,629.96               $50,541,629.96




Total Amount Available for Unsecured Creditors                                                                                        ($45,082.00)               $1,113,514.06
